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                   SC NAACP v. Alexander,
       D.S.C. Case No. 3:21-cv-03302-MGL-TJH-RMG




                   EXHIBIT 6
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                                                                  Page 225

 1                        UNITED STATES DISTRICT COURT
                            DISTRICT OF SOUTH CAROLINA
 2                              COLUMBIA DIVISION
 3
           THE SOUTH CAROLINA STATE CONFERENCE OF
 4         THE NAACP, et al.,
 5                     Plaintiffs,
 6         vs.                   CASE NO. 3:21-cv-03302-MBS
                                          TJH-RMG
 7
           THOMAS C. ALEXANDER, et al.,
 8
                          Defendant.
 9
10         VTC
           DEPOSITION OF:      WALLACE HERBERT JORDAN, JR.
11                             VOLUME II - Pages 225 through 444
                               (Appearing by VTC)
12
           DATE:               July 21, 2022
13
           TIME:               10:03 a.m.
14
           LOCATION:           Nexsen Pruet Law Firm
15                             1230 Main Street, 7th Floor
16         TAKEN BY:           Counsel for the Plaintiffs
17         REPORTED BY:        Susan M. Valsecchi, CRR
                               Registered Professional Reporter
18                             (Appearing by VTC)
19
20
21
22
23
24
25

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                                                                    Page 250

 1         e-mails and they're contained as calendar invites.
 2                  Q.   But the primary calendar invites would
 3         have went to your gmail account?
 4                  A.   I believe -- I believe so, assuming
 5         that's how that comes to be, so to speak.
 6                  Q.   Do you recall producing any reports or
 7         analyses since the last deposition that were
 8         relevant to congressional redistricting that you
 9         had?
10                  A.   I'm not aware of that, or I don't
11         recollect.
12                  Q.   I know this might sound a little bit
13         repetitive, but I'm just going to ask the questions
14         to see who and understand the full scope of folks
15         you spoke to during the congressional side of it.
16                  A.   Sure.
17                  Q.   During congressional redistricting, who
18         from Nexsen Pruet did you speak to during the
19         process?
20                  A.   It would have been -- it would have
21         been, at some point, Ms. Hollingsworth,
22         Mr. Parente, Mr. Moore, Ms. Wells, I think, and
23         perhaps Mr. Mathias at some point in time.                    That
24         would have been an exhaustive list, I guess.
25                  Q.   And obviously I know that as chair you

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                                                                   Page 445

 1       Michael A. Parente, Esq.

 2       mparente@nexsenpruet.com

 3                                  August 2, 2022

 4       RE: SC State Conference Of The NAACP v. Alexander, Et Al.

 5            7/21/2022, Wallace H. Jordan, Jr. - Volume 2 (#5327842)

 6            The above-referenced transcript is available for

 7       review.

 8            Within the applicable timeframe, the witness should

 9       read the testimony to verify its accuracy. If there are

10       any changes, the witness should note those with the

11       reason, on the attached Errata Sheet.

12            The witness should sign the Acknowledgment of

13       Deponent and Errata and return to the deposing attorney.

14       Copies should be sent to all counsel, and to Veritext at

15       erratas-cs@veritext.com.

16

17        Return completed errata within 30 days from

18      receipt of testimony.

19          If the witness fails to do so within the time

20      allotted, the transcript may be used as if signed.

21

22                       Yours,

23                      Veritext Legal Solutions

24

25

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 2       Wallace H. Jordan, Jr. - Volume 2 (#5327842)
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 5       __________________________________________________
 6       REASON____________________________________________
 7       PAGE_____ LINE_____ CHANGE________________________
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21       REASON____________________________________________
22
23       ________________________________                 _______________
24       Wallace H. Jordan, Jr.                             Date
25

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